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 9 Attorneys for Creditor
   KARLED ENTERPRISES, a California general partnership
10

11                                UNITED STATES BANKRUPTCY COURT

12                                  CENTRAL DISTRICT OF CALIFORNIA

13                                  SAN FERNANDO VALLEY DIVISION

14
     In re                                          Case No. 1:24-bk-11323-VK
15
     Irwin Naturals et al.,                         Chapter 11
16
                        Debtors and Debtors in      Jointly Administered with:
17                      Possession.                 Case No. 1:24-bk-11324-VK
                                                    Case No. 1:24-bk-11325-VK; and
18                                                  Case No. 1:24-bk-11326-VK
             Affects Irwin Naturals
19           Affects Irwin Naturals Inc.            NOTICE OF APPEARANCE AND
             Affects 5310 Holdings, LLC             REQUEST FOR SERVICE OF PAPERS
20
             Affects DAI US HoldCo Inc.
21           Affects All Debtors

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     4866-0573-6921.1    NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS
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 1              PLEASE TAKE NOTICE that Karled Enterprises hereby enters its appearance by and

 2 through its counsel, ALLEN MATKINS LECK GAMBLE MALLORY & NATSIS LLP,

 3 pursuant to section 1109(b) of title 11 of the United States Code (the “Bankruptcy Code”) and

 4 Rules 2002 and 9010 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

 5 such counsel hereby requests that all papers served or required to be served in this case and in any

 6 cases consolidated or administered herewith, be given to and served upon, and that Allen Matkins

 7 Leck Gamble Mallory & Natsis LLP be added to the mailing matrix on file with the Clerk of the

 8 Bankruptcy Court, as follows:

 9
                               MATTHEW G. BOUSLOG (BAR NO. 280978)
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19              PLEASE TAKE FURTHER NOTICE that pursuant to section 1109(b) of the Bankruptcy

20 Code, the foregoing request includes not only the notices and papers referred to in the Bankruptcy

21 Rules 2002, 3017, 4001, 9007 and 9010(b), but also includes, without limitation, any plan of

22 reorganization and objections thereto, notices of any orders, pleadings, motions, applications,

23 complaints, demands, hearings, requests or petitions, disclosure statements, answering or reply

24 papers, memoranda and briefs in support of any of the aforementioned and any other documents

25 brought before this Court with respect to these proceedings, whether formal or informal, whether

26 written or oral, and whether transmitted or conveyed by mail, email, delivery, telephone,

27 telegraph, telex, telecopier, or otherwise.

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 1              This Notice of Appearance and Request for Service of Papers shall not be deemed to be a

 2 submission to the Bankruptcy Court’s jurisdiction or a waiver of the above-named party-in-

 3 interest’s rights (1) to have final orders in noncore matters entered only after de novo review by a

 4 District Court judge, (2) to trial by jury in any proceeding so triable in this case or any case,

 5 controversy, or proceeding related to this case, (3) to have the District Court withdraw the

 6 reference in any matter subject to mandatory or discretionary withdrawal, or (4) to any other

 7 rights, claims, actions, setoffs, or recoupments to which the above-named party-in-interest is or

 8 may be entitled, in law or in equity, all of which rights, claims, actions, defenses, setoffs, and

 9 recoupments that the above-named party-in-interest expressly reserves.

10

11 Dated: August 20, 2024                               Respectfully submitted,

12                                                      ALLEN MATKINS LECK GAMBLE
                                                         MALLORY & NATSIS LLP
13                                                      MATTHEW G. BOUSLOG
                                                        ALPHAMORLAI L. KEBEH
14

15                                                      By:         /s/ Matthew G. Bouslog
                                                              MATTHEW G. BOUSLOG
16                                                            Attorneys for Karled Enterprises, a
                                                              California general partnership
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